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                                                                 L.B.F. 3015.1

                                              UNITED STATES BANKRUPTCY COURT
                                              EASTERN DISTRICT OF PENNSYLVANIA
In re: Garfield A. Edwards                                                     Chapter 13

                                  Debtor(s)                                    Case No.        25-10047

                                                                  Chapter 13 Plan

   Original

         Amended

Date: February 3, 2025

                                                 THE DEBTOR HAS FILED FOR RELIEF UNDER
                                                  CHAPTER 13 OF THE BANKRUPTCY CODE

                                                        YOUR RIGHTS WILL BE AFFECTED

You should have received from the court a separate Notice of the Hearing on Confirmation of Plan, which contains the date of the confirmation
hearing on the Plan proposed by the Debtor. This document is the actual Plan proposed by the Debtor to adjust debts. You should read these papers
carefully and discuss them with your attorney. ANYONE WHO WISHES TO OPPOSE ANY PROVISION OF THIS PLAN MUST FILE A
WRITTEN OBJECTION in accordance with Bankruptcy Rule 3015 and Local Rule 3015-4. This Plan may be confirmed and become binding,
unless a written objection is filed.

                                    IN ORDER TO RECEIVE A DISTRIBUTION UNDER THE PLAN, YOU
                                   MUST FILE A PROOF OF CLAIM BY THE DEADLINE STATED IN THE
                                                NOTICE OF MEETING OF CREDITORS.


Part 1: Bankruptcy Rule 3015.1(c) Disclosures


                          Plan contains non-standard or additional provisions – see Part 9

                          Plan limits the amount of secured claim(s) based on value of collateral and/or changed interest rate – see Part 4

                          Plan avoids a security interest or lien – see Part 4 and/or Part 9


Part 2: Plan Payment, Length and Distribution – PARTS 2(c) & 2(e) MUST BE COMPLETED IN EVERY CASE

    § 2(a) Plan payments (For Initial and Amended Plans):

            Total Length of Plan: 48 months.
            Total Base Amount to be paid to the Chapter 13 Trustee (“Trustee”) $ 132,000.00
            Debtor shall pay the Trustee $ 2,750.00 per month for 48 months; and then
            Debtor shall pay the Trustee $       per month for the remaining       months.

                                                                             or
            Debtor shall have already paid the Trustee $        through month number              and then shall pay the Trustee $       per month for the
            remaining          months.

        Other changes in the scheduled plan payment are set forth in § 2(d)

    § 2(b) Debtor shall make plan payments to the Trustee from the following sources in addition to future wages (Describe source, amount
and date when funds are available, if known):

    § 2(c) Alternative treatment of secured claims:
            None. If “None” is checked, the rest of § 2(c) need not be completed.
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               Sale of real property
            See § 7(c) below for detailed description

               Loan modification with respect to mortgage encumbering property:
            See § 4(f) below for detailed description

     § 2(d) Other information that may be important relating to the payment and length of Plan:



     § 2(e) Estimated Distribution

            A.      Total Administrative Fees (Part 3)

                    1. Postpetition attorney’s fees and costs                            $                                3,375.00

                    2. Postconfirmation Supplemental attorney’s fee's and costs          $                                     0.00

                                                                              Subtotal   $                                 3,375.00

            B.      Other Priority Claims (Part 3)                                       $                                6,500.00

            C.      Total distribution to cure defaults (§ 4(b))                         $                               32,400.00

            D.      Total distribution on secured claims (§§ 4(c) &(d))                  $                               66,821.06

            E.      Total distribution on general unsecured claims (Part 5)              $                                7,741.00

                                                        Subtotal                         $                              116,837.06

            F.      Estimated Trustee’s Commission                                       $                               13,200.00


            G.      Base Amount                                                          $                              130,037.06

     §2 (f) Allowance of Compensation Pursuant to L.B.R. 2016-3(a)(2)

             By checking this box, Debtor’s counsel certifies that the information contained in Counsel’s Disclosure of Compensation [Form
B2030] is accurate, qualifies counsel to receive compensation pursuant to L.B.R. 2016-3(a)(2), and requests this Court approve counsel’s
compensation in the total amount of $         with the Trustee distributing to counsel the amount stated in §2(e)A.1. of the Plan. Confirmation
of the plan shall constitute allowance of the requested compensation.

Part 3: Priority Claims

            § 3(a) Except as provided in § 3(b) below, all allowed priority claims will be paid in full unless the creditor agrees otherwise:

Creditor                                     Proof of Claim Number Type of Priority                   Amount to be Paid by Trustee
David M. Offen                                                     Attorney Fee                                                           $ 3,375.00
Internal Revenue Service                                           11 U.S.C. 507(a)(8)                                                    $ 6,500.00

            § 3(b) Domestic Support obligations assigned or owed to a governmental unit and paid less than full amount.

                     None. If “None” is checked, the rest of § 3(b) need not be completed.

             The allowed priority claims listed below are based on a domestic support obligation that has been assigned to or is owed to a
governmental unit and will be paid less than the full amount of the claim. This plan provision requires that payments in § 2(a) be for a term of 60
months; see 11 U.S.C. § 1322(a)(4).

Name of Creditor                                                   Proof of Claim Number              Amount to be Paid by Trustee


Part 4: Secured Claims

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            § 4(a) Secured Claims Receiving No Distribution from the Trustee:

                    None. If “None” is checked, the rest of § 4(a) need not be completed.
Creditor                                                         Proof of       Secured Property
                                                                 Claim
                                                                 Number
    If checked, the creditor(s) listed below will receive no
distribution from the trustee and the parties’ rights will be
governed by agreement of the parties and applicable
nonbankruptcy law.
          § 4(b) Curing default and maintaining payments

                     None. If “None” is checked, the rest of § 4(b) need not be completed.

         The Trustee shall distribute an amount sufficient to pay allowed claims for prepetition arrearages; and, Debtor shall pay directly to creditor
monthly obligations falling due after the bankruptcy filing in accordance with the parties' contract.

Creditor                                Proof of Claim Number                  Description of Secured Property       Amount to be Paid by Trustee
                                                                               and Address, if real property
AmeriHome Mortgage                      xxxxxxxxx0510                          6724 Woolston Avenue                                         $32,400.00
                                                                               Philadelphia, PA 19138
                                                                               Philadelphia County

          § 4(c) Allowed secured claims to be paid in full: based on proof of claim or pre-confirmation determination of the amount, extent
or validity of the claim
                    None. If “None” is checked, the rest of § 4(c) need not be completed.
                   (1) Allowed secured claims listed below shall be paid in full and their liens retained until completion of payments under the plan.

                    (2) If necessary, a motion, objection and/or adversary proceeding, as appropriate, will be filed to determine the amount, extent or
            validity of the allowed secured claim and the court will make its determination prior to the confirmation hearing.

                    (3) Any amounts determined to be allowed unsecured claims will be treated either: (A) as a general unsecured claim under Part 5
            of the Plan or (B) as a priority claim under Part 3, as determined by the court.

                     (4) In addition to payment of the allowed secured claim, “present value” interest pursuant to 11 U.S.C. § 1325(a) (5) (B) (ii) will
            be paid at the rate and in the amount listed below. If the claimant included a different interest rate or amount for “present value” interest
            in its proof of claim or otherwise disputes the amount provided for “present value” interest, the claimant must file an objection to
            confirmation.

                   (5) Upon completion of the Plan, payments made under this section satisfy the allowed secured claim and release the
            corresponding lien.

Name of Creditor       Proof of Claim        Description of        Allowed Secured       Present Value         Dollar Amount of Amount to be
                       Number                Secured Property      Claim                 Interest Rate         Present Value      Paid by Trustee
                                                                                                               Interest
Ally Financial,        xxxxxxxx1123          2018 Infiniti Q80              $28,179.00 8.50%                            $4,680.00       $32,859.00
Inc                                          70,000
Ally Financial,        xxxxxxxx5775          2017 Honda                     $14,955.00 8.50%                            $2,483.72           $17,438.72
Inc                                          Pilot 111,000
Ally Financial,        xxxxxxxx0994          2015 Jeep                      $14,170.00 8.50%                            $2,353.34           $16,523.34
Inc                                          Renegade

            § 4(d) Allowed secured claims to be paid in full that are excluded from 11 U.S.C. § 506

                     None. If “None” is checked, the rest of § 4(d) need not be completed.

            § 4(e) Surrender

                     None. If “None” is checked, the rest of § 4(e) need not be completed.
                     (1) Debtor elects to surrender the secured property listed below that secures the creditor’s claim.
                     (2) The automatic stay under 11 U.S.C. § 362(a) and 1301(a) with respect to the secured property terminates upon confirmation
                     of the Plan.

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                     (3) The Trustee shall make no payments to the creditors listed below on their secured claims.

Creditor                                                Proof of Claim Number          Secured Property

            § 4(f) Loan Modification

               None. If “None” is checked, the rest of § 4(f) need not be completed.

Part 5:General Unsecured Claims

            § 5(a) Separately classified allowed unsecured non-priority claims

                     None. If “None” is checked, the rest of § 5(a) need not be completed.

            § 5(b) Timely filed unsecured non-priority claims

                      (1) Liquidation Test (check one box)

                                   All Debtor(s) property is claimed as exempt.

                                   Debtor(s) has non-exempt property valued at $       for purposes of § 1325(a)(4) and plan provides for
                                   distribution of $     to allowed priority and unsecured general creditors.

                      (2) Funding: § 5(b) claims to be paid as follows (check one box):

                                   Pro rata

                               100%
Part 6: Executory Contracts & Unexpired Leases

                     None. If “None” is checked, the rest of § 6 need not be completed.

Part 7: Other Provisions

            § 7(a) General principles applicable to the Plan

            (1) Vesting of Property of the Estate (check one box)

                         Upon confirmation

                         Upon discharge

          (2) Subject to Bankruptcy Rule 3012 and 11 U.S.C. §1322(a)(4), the amount of a creditor’s claim listed in its proof of claim controls over
any contrary amounts listed in Parts 3, 4 or 5 of the Plan. Debtor shall amend the plan or file an objection should a filed unsecured claim render the
Plan unfeasible.

           (3) Post-petition contractual payments under § 1322(b)(5) and adequate protection payments under § 1326(a)(1)(B), (C) shall be disbursed
to the creditors by the debtor directly. All other disbursements to creditors shall be made by the Trustee.

          (4) If Debtor is successful in obtaining a recovery in a personal injury or other litigation in which Debtor is the plaintiff, before the
completion of plan payments, any such recovery in excess of any applicable exemption will be paid to the Trustee as a special Plan payment to the
extent necessary to pay priority and general unsecured creditors, or as agreed by the Debtor and the Trustee and approved by the court.

            § 7(b) Affirmative duties on holders of claims secured by a security interest in debtor’s principal residence

            (1) Apply the payments received from the Trustee on the pre-petition arrearage, if any, only to such arrearage.

          (2) Apply the post-petition monthly mortgage payments made by the Debtor to the post-petition mortgage obligations as provided for by
the terms of the underlying mortgage note.

           (3) Treat the pre-petition arrearage as contractually current upon confirmation for the Plan for the sole purpose of precluding the imposition
of late payment charges or other default-related fees and services based on the pre-petition default or default(s). Late charges may be assessed on
post-petition payments as provided by the terms of the mortgage and note.


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          (4) If a secured creditor with a security interest in the Debtor’s property sent regular statements to the Debtor pre-petition, and the Debtor
provides for payments of that claim directly to the creditor in the Plan, the holder of the claims shall resume sending customary monthly statements.

           (5) If a secured creditor with a security interest in the Debtor’s property provided the Debtor with coupon books for payments prior to the
filing of the petition, upon request, the creditor shall forward post-petition coupon book(s) to the Debtor after this case has been filed.

            (6) Debtor waives any violation of stay claim arising from the sending of statements and coupon books as set forth above.

            § 7(c) Sale of Real Property

               None. If “None” is checked, the rest of § 7(c) need not be completed.

Part 8: Order of Distribution

            The order of distribution of Plan payments will be as follows:

            Level 1: Trustee Commissions*
            Level 2: Domestic Support Obligations
            Level 3: Adequate Protection Payments
            Level 4: Debtor’s attorney’s fees
            Level 5: Priority claims, pro rata
            Level 6: Secured claims, pro rata
            Level 7: Specially classified unsecured claims
            Level 8: General unsecured claims
            Level 9: Untimely filed general unsecured non-priority claims to which debtor has not objected

*Percentage fees payable to the standing trustee will be paid at the rate fixed by the United States Trustee not to exceed ten (10) percent. If the
Trustee’s compensation rate increases resulting in the Plan becoming underfunded, the debtor shall move to modify the Plan to pay the
difference.

Part 9: Non-Standard or Additional Plan Provisions

Under Bankruptcy Rule 3015.1(e), Plan provisions set forth below in Part 9 are effective only if the applicable box in Part 1 of this Plan is checked.
Non-standard or additional plan provisions placed elsewhere in the Plan are void.

               None. If “None” is checked, the rest of Part 9 need not be completed.

          Eductional Financial Services are to be paid outside the plan on the Student Loans.
Part 10: Signatures

          By signing below, attorney for Debtor(s) or unrepresented Debtor(s) certifies that this Plan contains no non-standard or additional
provisions other than those in Part 9 of the Plan, and that the Debtor(s) are aware of, and consent to the terms of this Plan.

Date:    February 3, 2025                                                      /s/ David M. Offen
                                                                               David M. Offen
                                                                               Attorney for Debtor(s)


            If Debtor(s) are unrepresented, they must sign below.

Date:    February 3, 2025                                                      /s/ Garfield A. Edwards
                                                                               Garfield A. Edwards
                                                                               Debtor




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